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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                      Chapter 15

    NEXTPOINT FINANCIAL INC., et al.,                           Case No. 23-10983 (TMH)

                 Debtors in a foreign proceeding.1              (Joint Administration Requested)



     AMENDED2 NOTICE OF FILING OF BANKRUPTCY PETITIONS AND RELATED
      PLEADINGS; NOTICE AND AGENDA OF HEARING ON FIRST DAY MOTIONS
        SCHEDULED FOR JULY 27, 2023, AT 1:00 P.M. (ET) IN COURTROOM #73

                          PLEASE NOTE THIS HEARING HAS BEEN
                       RESCHEDULED FROM 11:00 A.M. TO 1:00 P.M. (ET)

    THIS HEARING WILL BE CONDUCTED IN PERSON FOR LOCAL COUNSEL AND
     BY ZOOM AND REQUIRES ALL VIRTUAL PARTICIPANTS TO REGISTER AT
                        LEAST 2 HOURS IN ADVANCE.

                        COURT CALL WILL NOT BE USED TO DIAL IN.

     PLEASE USE THE FOLLOWING LINK TO REGISTER IN ADVANCE FOR THIS
                               HEARING:

https://debuscourts.zoomgov.com/meeting/register/vJIsc-yurjsjGiZUnJYDN2nzb43PloO5lCM


             YOU MUST USE YOUR FULL NAME WHEN LOGGING INTO ZOOM




1
   The Debtors in these chapter 15 proceedings, together with the last four digits of their business identification
numbers are: NextPoint Financial Inc. (6134); LT Holdco, LLC (8090); LT Intermediate Holdco, LLC (0811);
SiempreTax+ LLC (6145); JTH Tax LLC (8391); Liberty Tax Holding Corporation (N/A); Liberty Tax Service, Inc.
(N/A); JTH Financial, LLC (1522); JTH Properties 1632, LLC (0248); Liberty Credit Repair, LLC (5427); Wefile,
LLC (6778); JTH Tax Office Properties, LLC (0248); LTS Software LLC (6450), JTH Court Plaza, LLC (2116); 360
Accounting Solutions LLC (8312); LTS Properties, LLC (9088); NPI Holdco LLC (1936); CTAX Acquisition LLC
(6975); Community Tax Puerto Rico LLC (4349); Community Tax LLC (8001); NPLM Holdco LLC (8132); MMS
Servicing LLC (7430); LoanMe, LLC (5663); LoanMe Funding, LLC (2305); LM Retention Holdings, LLC (N/A);
LoanMe Trust-Prime 2018-1 (0257); LoanMe Trust SBL 2019-1 (N/A); LoanMe Stores, LLC (3810); InsightsLogic,
LLC (0818); and LM 2020 CM I SPE, LLC (N/A). The location of the Debtors’ headquarters is 500 Grapevine Hwy,
Suite 402, Hurst, TX 76054, and the Debtors’ mailing address is 1133 Melville St., Suite 2700, Vancouver, BC V6E
4E5.
2
     Amended items appear in italics.
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  Copies of all petitions, motions, and pleadings identified herein may be obtained free of charge through the
website of the Foreign Representative’s proposed noticing agent at https://cases.stretto.com/nextpoint.

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          PLEASE TAKE NOTICE that, on July 26, 2023, NextPoint Financial Inc., in its
capacity as Foreign Representative for each of the above-captioned foreign debtors (the “Debtors”)
filed petitions for relief under chapter 15 of title 11 of the United States Code and elected to
proceed as set forth below:

   A. Voluntary Petitions

       1.      NextPoint Financial Inc. [Case No. 23-10983 – [D.I. 1].

       2.      LT Holdco, LLC [Case No. 23-10986 – [D.I. 1].

       3.      LT Intermediate Holdco, LLC [Case No. 23-10988 – [D.I. 1].

       4.      SiempreTax+ LLC [Case No. 23-10990 – [D.I. 1].

       5.      JTH Tax LLC [Case No. 23-10991 – [D.I. 1].

       6.      Liberty Tax Holding Corporation [Case No. 23-10993 – [D.I. 1].

       7.      Liberty Tax Service Inc. [Case No. 23-11000 – [D.I. 1].

       8.      JTH Financial, LLC [Case No. 23-11001 – [D.I. 1].

       9.      JTH Properties 1632, LLC [Case No. 23-11002– [D.I. 1].

       10.     Liberty Credit Repair, LLC [Case No. 23-11003 – [D.I. 1].

       11.     Wefile LLC [Case No. 23-11004 – [D.I. 1].

       12.     JTH Tax Office Properties, LLC [Case No. 23-11005 – [D.I. 1].

       13.     LTS Software LLC [Case No. 23-11006– [D.I. 1.]

       14.     JTH Court Plaza, LLC [Case No. 23-11007 – [D.I. 1].

       15.     360 Accounting Solutions LLC [Case No. 23-11008 – [D.I. 1].

       16.     LTS Properties, LLC. [Case No. 23-11009– [D.I. 1].

       17.     NPI Holdco LLC [Case No. 23-10984 – [D.I. 1].

       18.     CTAX Acquisition LLC [Case No. 23-11010 – [D.I. 1].

       19.     Community Tax Puerto Rico LLC [Case No. 23-11011 – [D.I. 1].

       20.     Community Tax LLC [Case No. 23-11012 – [D.I. 1].

       21.     NPLM Holdco LLC [Case No. 23-10985 – [D.I. 1].

       22.     MMS Servicing LLC [Case No. 23-10987 – [D.I. 1].

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       23.     LoanMe, LLC [Case No. 23-10989 – [D.I. 1].

       24.     LoanMe Funding, LLC [Case No. 23-10992 – [D.I. 1].

       25.     LM Retention Holdings, LLC [Case No. 23-10994 – [D.I. 1].

       26.     LoanMe Trust Prime 2018-1 [Case No. 23-10995 – [D.I. 1].

       27.     LoanMe Trust SBL 2019-1 [Case No. 23-10996– [D.I. 1].

       28.     LoanMe Stores, LLC [Case No. 23-10997 – [D.I. 1].

       29.     InsightsLogic, LLC [Case No. 23-10998 – [D.I. 1].

       30.     LM 2020 CM I SPE, LLC [Case No. 23-10999 – [D.I. 1].

         PLEASE TAKE FURTHER NOTICE that, in addition to the filing of its petitions, the
Foreign Representative has filed the following motions and related pleadings:

   B. Provisional Relief Motions

       1.      Motion of Authorized Foreign Representative for Order Directing Joint
               Administration of Chapter 15 Cases and Related Relief [D.I. 2].

       2.      Motion for Order (A) Scheduling Hearing on Recognition of Chapter 15 Petitions,
               (B) Specifying Form and Manner of Service of Notice, and (C) Authorizing
               Redaction of Certain Personally Identifiable Information of Individual
               Stakeholders [D.I.4].

       3.      Verified Petition for (I) Recognition of Foreign Main Proceedings, or, in the
               Alternative, Foreign Non-Main Proceedings, (II) Recognition of Foreign
               Representative, and (III) Related Relief Under Chapter 15 of the Bankruptcy Code
               [D.I. 5].

       4.      Ex Parte Motion for Provisional Relief in the Form of a Temporary Restraining
               Order and, After Notice and a Hearing, an Order for Provisional Relief Under
               Section 1519 of the Bankruptcy Code [D.I. 6].

       5.      Memorandum of Law in Support of Ex Parte Motion for Provisional Relief in the
               Form of a Temporary Restraining Order and, After Notice and a Hearing, an Order
               for Provisional Relief Under Section 1519 of the Bankruptcy Code [D.I. 7].

       6.      Declaration of R. Craig Martin in Support of Ex Parte Motion for Provisional Relief
               in the Form of a Temporary Restraining Order and, After Notice and a Hearing, An
               Order for Provisional Relief Under Section 1519 of the Bankruptcy Code [D.I. 8].

       7.      Declaration of Peter Kravitz in Support of Debtors’ Verified Petition for (I)
               Recognition of Foreign Main Proceedings, or, in the Alternative, Foreign Non-
               Main Proceedings, (II) Recognition of Foreign Representative, (III) Debtors’
               Motion for Certain Provisional Relief [D.I. 9].
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       8.      Declaration of Colin Brousson as Canadian Counsel to the Debtors in Support of
               the Debtors’ Chapter 15 Petitions and Requests for Certain Related Relief Pursuant
               to Chapter 15 of the Bankruptcy Code [D.I. 11].

   C. Recognition Motion

       9.      Motion of the Foreign Representative for Chapter 15 Recognition and Final Relief
               [D.I. 13].

       10.     Memorandum of Law in Support of Motion of the Foreign Representative for
               Chapter 15 Recognition and Final Relief [D.I. 12].

        PLEASE TAKE FURTHER NOTICE that a hearing (the “Provisional Relief Hearing”)
with respect to the Provisional Relief Motions is scheduled for July 27, 2023, at 1:00 p.m. (ET)
before the Honorable Thomas M. Horan at the United States Bankruptcy Court for the District of
Delaware, 824 Market Street, 3rd Floor, Courtroom #7, Wilmington, Delaware 19801.

        PLEASE TAKE FURTHER NOTICE that any and all objections to the Provisional
Relief Motions may be made at or before the Provisional Relief Hearing.

Dated: July 26, 2023                 Respectfully submitted,
        Wilmington, Delaware
                                     DLA PIPER LLP (US)

                                     /s/ R. Craig Martin
                                     R. Craig Martin (DE 5032)
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                                     Wilmington, Delaware 19801
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                                     -and-

                                     Rachel Ehrlich Albanese (pro hac vice admission pending)
                                     Jamila Justine Willis (pro hac vice admission pending)
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                                     Counsel to the Foreign Representative




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